
In re Sampia, Robert J.; — Plaintiff; Applying for Supervisory and/or Remedial *318Writ, Parish of Lafayette, 15th Judicial District Court Div. E, Nos. 55511; to the Court of Appeal, third Circuit, No(s). 98 00961, 97 01362.
Denied. Untimely and repetitive. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; cf. La.C.Cr.P. art. 930.4(D).
LEMMON, J., not on panel.
